                                                20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 1 of
                                                                                        9


MOR-1                                                       UNITED STATES BANKRUPTCY COURT
CASE NAME:               3443 Zen Garden, LP                                                                                          PETITION DATE:                   3/22/2020
CASE NUMBER:                20-10410-hcm                                                                                              DISTRICT OF TEXAS:                Western
PROPOSED PLAN DATE:        Confirmed Effective 02/02/21                                                                               DIVISION:                          Austin

        MONTHLY OPERATING REPORT SUMMARY FOR MONTH                                                                                          JANUARY                             YEAR                   2021
                               MONTH   * Mar 22 - April 30                              May-20                            Jun-20                     Jul-20                    Aug-20                       Sep-20                Oct-20       Nov-20        Dec-20         Jan-21
REVENUES (MOR-6)                                     0.00                                  0.00                             0.00                       0.00                       0.00                        0.00                  0.00          0.00          0.00          0.00
INCOME BEFORE INT; DEPREC./TAX (MOR-6)        -269,678.43                           -332,534.28                      -440,903.92               -554,337.71                 -518,287.25                 -639,184.18           -574,398.07   -133,987.63   -111,163.53   -133,711.98
NET INCOME (LOSS) (MOR-6)                     -269,678.43                           -332,859.28                      -440,903.92               -559,213.26                 -518,287.25                 -639,184.18        -78,090,290.87     -5,251.29   -111,163.53   -146,818.25
PAYMENTS TO INSIDERS (MOR-9)                         0.00                            167,158.90                       154,696.89                344,321.96                  497,004.31                  322,648.93            577,641.84     62,247.82     26,201.81          0.00
PAYMENTS TO PROFESSIONALS (MOR-9)                    0.00                                  0.00                             0.00                250,263.50                   66,788.25                   66,373.48            115,851.83     93,942.78    329,941.25    238,109.32
TOTAL DISBURSEMENTS (MOR-7)                          0.00                            167,208.90                       154,796.89                613,159.56                  563,958.56                  390,429.41            715,013.67    239,392.08    356,221.06    251,215.59

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

REQUIRED INSURANCE MAINTAINED                                             Are all accounts receivable being collected within terms?                            Yes
   AS OF SIGNATURE DATE                                   EXP.            Are all post-petition liabilities, including taxes, being paid within terms?         Yes
________________________________                          DATE            Have any pre-petition liabilities been paid?                                         Yes
CASUALTY                 YES ( X ) NO ( )                  2/7/2021        If so, describe           Per Order Authorizing Payment of Pre-Petition Claims dated 07/31/20 (Doc #167)
LIABILITY                YES ( X ) NO ( )                  2/7/2021       Are all funds received being deposited into DIP bank accounts?                       Yes
VEHICLE                  YES ( ) NO ( )                    ___-___-___    Were any assets disposed of outside the normal course of business?                   Yes
WORKER'S                YES ( ) NO ( )                     ___-___-___     If so, describe           Per Order Authorizing Sale (Doc #284)
OTHER**                   YES ( X ) NO ( )                 2/7/2021       Are all U.S. Trustee Quarterly Fee Payments current?                                 Yes
** Builders Risk                                                          What is the status of your Plan of Reorganization?                                   Confirmed; Effective date of 2/2/2021



ATTORNEY NAME:      Jason Rudd                                                                               I certify under penalty of perjury that the following complete
FIRM NAME:          Wick Phillips                                                                            Monthly Operating Report (MOR), consisting of MOR-1 through
ADDRESS:            3131 McKinney Avenue                                                                     MOR-9 plus attachments, is true and correct.
                    Suite 100
CITY, STATE, ZIP:   Dallas, Texas 75204                                                                    SIGNED X _____________________________              TITLE: Chapter 11 Trustee
TELEPHONE/FAX:      214.740.4038                                                                                                Gregory S. Milligan


MOR-1                                                                                                    Date:     February 4, 2021
Revised 07/01/98
                                                                         NOTE: The Court approved the Chapter 11 Trustee’s appointment on 04/22/20; accordingly, the Trustee lacks firsthand knowledge of
                                                                         information from prior to such date and cannot certify that the pre-appointment information contained herein is true and correct. For the pre-
                                                                         appointment date information, the Trustee has relied upon information provided by other parties.
                                     20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 2 of
                                                                             9


   CASE NAME:      3443 Zen Garden, LP
  CASE NUMBER:     20-10410-hcm



                                               COMPARATIVE BALANCE SHEETS
ASSETS                                      FILING DATE*     MONTH             MONTH              MONTH              MONTH            MONTH          MONTH          MONTH          MONTH             MONTH         MONTH
                                            03/22/2020           APRIL               MAY               JUNE               JULY         AUGUST        SEPTEMBER OCTOBER NOVEMBER DECEMBER                           JANUARY
CURRENT ASSETS
Cash                                               1,862              3,711            799,752         1,565,608          1,654,117      1,716,862      9,199,627     8,725,997       8,486,605        8,218,060     7,966,845
Accounts Receivable, Net                       2,303,215          2,303,215          2,303,215         2,303,215          2,303,215      2,303,215      2,303,215     2,303,215       2,303,215        2,303,215     2,303,215
Inventory: Lower of Cost or Market
Prepaid Expenses                                  371,040           323,776            327,737            292,001           256,265       220,528        184,792       166,924          166,924         166,924       166,924
Investments
Other
TOTAL CURRENT ASSETS                           2,676,118         2,630,702          3,430,704         4,160,824          4,213,597       4,240,605     11,687,635    11,196,136      10,956,744       10,688,199    10,436,984
PROPERTY, PLANT & EQUIP. @ COST 117,351,212                    117,351,212        117,351,212       117,351,212        117,351,212     117,351,212    117,351,212             0               0                0             0
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E [a]                117,351,212        117,351,212        117,351,212       117,351,212        117,351,212     117,351,212    117,351,212            0                  0             0             0
OTHER ASSETS
 1. Notes Receivable                             360,461            360,461            360,461           360,461            360,461        360,461        360,461      360,461          360,461         360,461       360,461
 2. Advance Requests                           5,024,150          5,024,150          5,024,150         5,024,150          5,024,150      5,024,150      5,024,150            0                0
 3. Electric Deposit
 4.
TOTAL ASSETS                                125,411,941        125,366,525        126,166,528       126,896,647        126,949,420     126,976,429    134,423,458    11,556,597      11,317,205       11,048,661    10,797,445
                                          * Per Schedules and Statement of Affairs
           MOR-2                     [a] For tax / GAAP purposes, the Debtor has historically capitalized all of its expenses.                                                    Revised 07/01/98
                                          20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 3 of
                                                                                  9


         CASE NAME:     3443 Zen Garden, LP
         CASE NUMBER:   20-10410-hcm



                                                   COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                          FILING DATE*    MONTH             MONTH               MONTH          MONTH          MONTH          MONTH          MONTH          MONTH             MONTH         MONTH
EQUITY                                         03/22/2020          APRIL                 MAY            JUNE           JULY         AUGUST        SEPTEMBER OCTOBER            NOVEMBER DECEMBER                JANUARY
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                                      222,414            1,355,277      2,526,301      3,138,287      3,842,038     11,928,252     7,699,973         7,533,333      7,375,952     7,271,554
PRE-PETITION LIABILITIES
 Secured Debt                                  112,028,927       112,028,927       112,028,927        112,028,927    112,028,927    112,028,927    112,028,927    71,480,636       71,480,636      71,480,636    71,480,636
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                   2,002,949         2,002,949            2,002,949      2,002,949      2,002,949      1,844,493      1,844,493     1,844,493         1,776,993      1,776,993     1,776,993
 Other
TOTAL PRE-PETITION LIABILITIES                 114,031,877       114,031,877       114,031,877        114,031,876    114,031,876    113,873,420    113,873,420    73,325,128       73,257,628      73,257,628    73,257,628
TOTAL LIABILITIES                              114,031,877       114,254,291       115,387,153        116,558,177    117,170,163    117,715,458    125,801,672    81,025,102       80,790,961      80,633,580    80,529,183
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL
RETAINED EARNINGS: Filing Date                                     11,381,913        11,381,913        11,381,912     11,381,912     11,381,912     11,381,912    11,381,912       11,381,912      11,381,912    11,381,912
RETAINED EARNINGS: Post Filing Date                                  -269,678          -602,538        -1,043,442     -1,602,655     -2,120,942     -2,760,126   -80,850,417      -80,855,668     -80,966,832   -81,113,650
TOTAL OWNER'S EQUITY (NET WORTH)                                   11,112,234        10,779,375        10,338,471      9,779,258      9,260,970      8,621,786   -69,468,505      -69,473,756     -69,584,920   -69,731,738
TOTAL
LIABILITIES &
OWNERS EQUITY                                  114,031,877       125,366,525       126,166,528        126,896,647    126,949,420    126,976,429    134,423,458    11,556,597       11,317,205      11,048,661    10,797,445
                                              * Per Schedules and Statement of Affairs
            MOR-3                                                                                                                                                              Revised 07/01/98
                                20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 4 of
                                                                        9


 CASE NAME:       3443 Zen Garden, LP
 CASE NUMBER:     20-10410-hcm

                                  SCHEDULE OF POST-PETITION LIABILITIES
                                            MONTH              MONTH         MONTH         MONTH        MONTH         MONTH         MONTH             MONTH        MONTH        MONTH
                                            Mar 22 to Apr 30     MAY           JUNE          JULY        AUGUST       SEPTEMBER      OCTOBER          NOVEMBER     DECEMBER     JANUARY
TRADE ACCOUNTS PAYABLE                            148,947        121,619       161,818       183,183      193,326        263,955           67,349        25,890            0              0
TAX PAYABLE
Federal Payroll Taxes
State Payroll Taxes
Ad Valorem Taxes (Accrued)                          24,956        43,825        62,694        81,563      100,433        119,302         128,736
Other Taxes
TOTAL TAXES PAYABLE                                 24,956        43,825         62,694        81,563      100,433       119,302         128,736              0            0              0
SECURED DEBT POST-PETITION                                       963,250      1,883,903     2,585,572    3,212,275     4,085,470               0              0            0              0
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*                          48,511       226,258       417,561       287,968      336,005        459,525         488,212        507,443      375,952      271,554
OTHER ACCRUED LIABILITIES
1. US TRUSTEE FEES                                                     325           325            0             0                      15,675
2. SALE DEPOSIT ESCROW                                                                                                 7,000,000      7,000,000        7,000,000    7,000,000    7,000,000
 3.
TOTAL POST-PETITION LIABILITIES (MOR-3)           222,414       1,355,277     2,526,301     3,138,287    3,842,038 11,928,252         7,699,973        7,533,333    7,375,952    7,271,554
  *Payment requires Court Approval
      MOR-4                                                                                                                        Revised 07/01/98
                             20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 5 of
                                                                     9


 CASE NAME:    3443 Zen Garden, LP
CASE NUMBER:   20-10410-hcm

                                                                AGING OF POST-PETITION LIABILITIES
                                                                MONTH                      JANUARY

       DAYS             TOTAL                 TRADE                   FEDERAL              STATE                AD VALOREM,                     OTHER
                                             ACCOUNTS                  TAXES               TAXES             OTHER TAXES (Accrued)             UST FEES
0-30                                     0
31-60                                    0
61-90                                    0
91+                                      0
TOTAL                                    0                  0                       0                    0                       0                            0

                                                                AGING OF ACCOUNTS RECEIVABLE



   MONTH


0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                                $0.00              $0.00                   $0.00                $0.00                  $0.00                         $0.00

               MOR-5                                                                                                                 Revised 07/01/98
                                                                20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 6 of
                                                                                                        9


         CASE NAME:         3443 Zen Garden, LP
        CASE NUMBER:        20-10410-hcm
                                                                    STATEMENT OF INCOME (LOSS)
                                                         MONTH                       MONTH                       MONTH                      MONTH                      MONTH                       MONTH                      MONTH                MONTH              MONTH              MONTH              FILING TO
                                                           Mar 22 - Apr 30                     May                        June                        July                     August                  September                     October         November            December           January         DATE
REVENUES       (MOR-1)                                                                                                                                                                                                                                                                                                         0
TOTAL COST OF REVENUES                                                                                                                                                                                                                                                                                                         0
GROSS PROFIT                                                                     0                           0                          0                          0                           0                          0                    0                 0                                                             0
OPERATING EXPENSES:
   Repairs, Maintenance, Preservation                                  110,945                      78,767                    126,401                    300,988                     266,738                    234,429                 316,491             19,914                                                   1,454,673
   General & Administrative                                             72,220                      54,655                     96,841                     86,806                      92,064                    156,013                  69,780                 26                390                                  628,794
   Insiders Compensation                                                                                                                                                                                                                                                                                                     0
   Professional Fees (a)                                                 48,511                    177,747                    191,303                    120,671                     114,825                    189,894                 144,539            113,173            110,774            133,712             1,345,148
   Utilities                                                             17,530                     13,536                     14,329                     15,587                      17,114                     16,822                     166                                                                         95,083
   Regulatory / Legal                                                    20,473                      7,830                     12,030                     30,286                      27,547                     42,026                  43,422                875                                                     184,488
   Other Accrued Expenses                                                                                                                                                                                                                                                                                                    0
TOTAL OPERATING EXPENSES                                               269,678                    332,534                     440,904                    554,338                    518,287                     639,184                  574,398            133,988            111,164            133,712            3,708,187
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                   -269,678                   -332,534                    -440,904                   -554,338                   -518,287                    -639,184                 -574,398           -133,988           -111,164           -133,712           -3,708,187
INTEREST EXPENSE                                                                                                                                                                                                                         124,855                  0                                                    124,855
DEPRECIATION                                                                                                                                                                                                                                                                                                                 0
OTHER (INCOME) EXPENSE*                                                                                  325                                                 4,876                                                                        15,675                                                  13,106                33,982
OTHER ITEMS (Loss on Sale of Real Estate)                                                                                                                                                                                             77,375,362           -128,736                                                 77,246,626
TOTAL INT, DEPR & OTHER ITEMS                                                0                        325                           0                      4,876                          0                           0               77,515,893           -128,736                  0             13,106           77,405,463
NET INCOME BEFORE TAXES                                               -269,678                   -332,859                    -440,904                   -559,213                   -518,287                    -639,184              -78,090,291             -5,251           -111,164           -146,818          -81,113,650
FEDERAL INCOME TAXES                                                                                                                                                                                                                                                                                                         0
NET INCOME (LOSS) (MOR-1)                                             -269,678                   -332,859                    -440,904                   -559,213                   -518,287                    -639,184              -78,090,291             -5,251           -111,164           -146,818          -81,113,650
Accrual Accounting Required, Otherwise Footnote with Explanation.
(a) includes Trustee fees prior to applying the statutory cap, counsel for the Debtors (Wick Phillips), special counsel (Sprouse), and financial advisor (Harney Partners), and Kell Mercer PC (counsel for petitioning creditors)
NOTE: Debtor has historically capitalized all construction related expenses. For transparency purposes, no expenses have been capitalized in this MOR.
               MOR-6                                                                                                                                                                                                                                                                                        Revised 07/01/98
                                                         20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 7 of
                                                                                                 9


  CASE NAME:        3443 Zen Garden, LP
 CASE NUMBER:       20-10410-hcm

CASH RECEIPTS AND                                           MONTH               MONTH           MONTH           MONTH           MONTH           MONTH            MONTH           MONTH            MONTH           MONTH            FILING TO
DISBURSEMENTS                                                Mar 22 to Apr 30        May             June               July        August        September         October        November          December        January       DATE
 1. CASH-BEGINNING OF MONTH                                      $3,710.75          $3,710.75     $799,751.85 $1,565,607.96 $1,654,117.40 $1,716,861.84 $9,199,627.43 $8,725,996.76 $8,486,604.68 $8,218,060.38                           $3,710.75
RECEIPTS:
 2. CASH SALES                                                                                                                                                                                                                               0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                                                        0.00
 4. LOANS & ADVANCES (see next page)                                               963,250.00      920,653.00      701,669.00      626,703.00      873,195.00       241,383.00                                                       4,326,853.00
 5. SALE OF ASSETS                                                                                                                                                                                                                           0.00
 6. OTHER (Sale/Settlement Deposit Escrow)                                                                                                        7,000,000.00            0.00                        87,676.76                      7,087,676.76
TOTAL RECEIPTS**                                                        0.00       963,250.00      920,653.00      701,669.00      626,703.00     7,873,195.00      241,383.00             0.00       87,676.76                0.00 11,414,529.76
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                                                                        0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                                                                               0.00
 8. PAYROLL TAXES PAID                                                                                                                                                                                                                        0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                                                                                                             0.00
10. SECURED/RENTAL/LEASES                                                                                                                                                                                                                     0.00
11. UTILITIES & TELEPHONE                                                            4,940.75       26,223.19       13,547.38       15,210.45       13,994.80        20,908.29           232.74                                          95,057.60
12. INSURANCE                                                                       39,697.60                       24,324.10                                        42,164.53                                                          106,186.23
13. INVENTORY PURCHASES                                                                                                                                                                                                                       0.00
14. VEHICLE EXPENSES                                                                                                                                                                                                                          0.00
15. TRAVEL & ENTERTAINMENT                                                                                                                                                                                                                    0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                                 46,712.37      120,973.70      306,450.48      481,793.86      309,854.13       514,569.02       62,015.08        26,201.81                       1,868,570.45
17. ADMINISTRATIVE & SELLING                                                            50.00          100.00          373.55          166.00          207.00           168.00           26.00            78.00                           1,168.55
18. OTHER (attach list)(a)                                                          75,808.18        7,500.00       13,000.00                                                        67,500.00                                          163,808.18
TOTAL DISBURSEMENTS FROM OPERATIONS                                     0.00       167,208.90      154,796.89      357,695.51      497,170.31      324,055.93       577,809.84      129,773.82        26,279.81            0.00       2,234,791.01
19. PROFESSIONAL FEES                                                                                              250,263.50       66,788.25       66,373.48       115,851.83       93,942.78       329,941.25      238,109.32       1,161,270.41
20. U.S. TRUSTEE FEES                                                                                                5,200.55                                                        15,675.48                        13,106.27          33,982.30
21. OTHER REORGANIZATION EXPENSES (Trustee Bond increase)                                                                                                  21,352.00                                                                     21,352.00
TOTAL DISBURSEMENTS**                                                   0.00        167,208.90    154,796.89    613,159.56    563,958.56    390,429.41    715,013.67    239,392.08    356,221.06    251,215.59                        3,451,395.72
22. NET CASH FLOW                                                        0.00       796,041.10    765,856.11     88,509.44     62,744.44 7,482,765.59    -473,630.67   -239,392.08   -268,544.30   -251,215.59                        7,963,134.04
23. CASH - END OF MONTH (MOR-2)                                  $3,710.75        $799,751.85 $1,565,607.96 $1,654,117.40 $1,716,861.84 $9,199,627.43 $8,725,996.76 $8,486,604.68 $8,218,060.38 $7,966,844.79                       $7,966,844.79
                                                        * Applies to Individual debtors only
              MOR-7                                     **Numbers for the current month should balance (match)                                                                                                                     Revised 07/01/98
                                                           RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8

(a) OTHER includes $12,375 to Rob Roy Parnell and $55,125 to Winstead for allowed administrative expense
                          20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 8 of
                                                                  9


      CASE NAME:     3443 Zen Garden, LP
      CASE NUMBER:   20-10410-hcm

                                                 CASH ACCOUNT RECONCILIATION
                                                 MONTH OF      January

BANK NAME                                         Frost              Frost                        Frost                 Frost
ACCOUNT NUMBER                                   #1511              #3998                         #3882                 #9614
ACCOUNT TYPE                               OPERATING (CLOSED) TRUSTEE OPERATING             PROF FEE ESCROW     SALE DEPOSIT ESCROW             TOTAL
BANK BALANCE                                                 0.00              250,188.81         729,762.25             7,000,000.00        $7,979,951.06
DEPOSITS IN TRANSIT                                                                                                                                  $0.00
OUTSTANDING CHECKS                                                              13,106.27                                                       $13,106.27
ADJUSTED BANK BALANCE                                      $0.00             $237,082.54         $729,762.25           $7,000,000.00         $7,966,844.79
BEGINNING CASH - PER BOOKS                                   0.00              488,298.13          729,762.25            7,000,000.00        $8,218,060.38
RECEIPTS*                                                                                                                                            $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                                                           $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                                                                                                         $0.00
CHECKS/OTHER DISBURSEMENTS*                                                    251,215.59                                                      $251,215.59
ENDING CASH - PER BOOKS                                    $0.00             $237,082.54         $729,762.25           $7,000,000.00         $7,966,844.79

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and                                           Revised 07/01/98
                                            TOTAL DISBURSEMENTS lines on MOR-7
                                      20-10410-hcm Doc#403 Filed 02/04/21 Entered 02/04/21 10:17:59 Main Document Pg 9 of
                                                                              9


CASE NAME:        3443 Zen Garden, LP
CASE NUMBER:      20-10410-hcm


                                      PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                         MONTH           MONTH               MONTH            MONTH             MONTH             MONTH             MONTH             MONTH         MONTH         MONTH
  INSIDERS: NAME/COMP TYPE                               Mar 22 - Apr 30    May                 June             July             August           September         October           November      December      January


 1. Panache Develop & Construction, Inc (a)                                   167,158.90        154,696.89       344,321.96       497,004.31        322,648.93        577,641.84        62,247.82     26,201.81              0.00
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                             $0.00 $167,158.90 $154,696.89 $344,321.96 $497,004.31 $322,648.93 $577,641.84                                      $62,247.82    $26,201.81         $0.00

                                                         MONTH           MONTH               MONTH            MONTH             MONTH             MONTH             MONTH             MONTH         MONTH         MONTH
         PROFESSIONALS                                   Mar 22 - Apr 30    May                 June             July             August           September         October           November      December      January


 1. Gregory S. Milligan / Chapter 11 Trustee                                                                                                                                    203,479.05   84,675.82
 2. Harney Partners / FA to Trustee                                                                               21,448.00         7,924.00   3,752.00   14,728.00   4,648.00   15,015.00    2,968.00
 3. Wick Phillips / Counsel to Trustee                                                                           193,948.30        47,340.25  57,441.48   99,219.83  89,294.78   98,386.20 150,465.50
 4. Sprouse Shrader Smith / Counsel to Trustee                                                                    22,797.00         3,024.00   5,180.00    1,904.00       0.00   13,061.00
 5. Kell Mercer PC / Counsel to Petitioning Creditors                                                             12,070.20             0.00       0.00        0.00       0.00
 6. Gindler, Chappell, Morrison & Co. PC / Accountant                                                                               8,500.00       0.00        0.00       0.00
TOTAL PROFESSIONALS (MOR-1)                                        $0.00            $0.00             $0.00 $250,263.50          $66,788.25 $66,373.48 $115,851.83 $93,942.78 $329,941.25 $238,109.32

      MOR-9       (a) reimbursement for payment to subcontractors for approved expenses pursuant to court-approved budget                                          Revised 07/01/98
